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 1                                                              THE HONORABLE JOHN H. CHUN

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 6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8
      FEDERAL TRADE COMMISSION, et al.,                       CASE NO.: 2:23-cv-01495-JHC
 9
                       Plaintiffs,                            DECLARATION OF EMILY K.
10                                                            BOLLES IN SUPPORT OF
                  v.                                          PLAINTIFFS’ MOTION TO
11                                                            COMPEL PRODUCTION OF
      AMAZON.COM, INC., a corporation,                        DOCUMENTS RELATED TO
                                                              SPOLIATION
12                     Defendant.
13

14 I, Emily K. Bolles, declare as follows:

15          1.      I am an Attorney in the Federal Trade Commission’s (“FTC”) Bureau of

16 Competition, and I represent the FTC in the above-captioned action. I am over eighteen years of

17 age and am competent to testify to the matters set forth in this declaration. I make the following

18 statements based on my personal knowledge.

19          2.      I certify that Plaintiffs conferred in good faith with counsel for Amazon in an

20 effort to resolve the parties’ dispute without Court action. Counsel for Plaintiffs and counsel for

21 Amazon have met and conferred at length regarding Plaintiffs’ RFP Nos. 25 and 27, both by

22 email and letter exchanges and through telephonic meet and confers on the following dates:

23 January 9, 2024; March 6, 2024; and April 15, 2024.

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      DECL. OF EMILY K. BOLLES                                        FEDERAL TRADE COMMISSION
      ISO PLAINTIFFS’ MOTION TO COMPEL                                    600 Pennsylvania Avenue, NW
      DOCUMENTS RELATED TO SPOLIATION - 1                                        Washington, DC 20580
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 1          3.      The FTC sent a Voluntary Access Letter requesting documents to Amazon on

 2 August 5, 2019.

 3          4.      The FTC served a Civil Investigative Demand on Amazon on February 20, 2020.

 4          5.      On November 14, 2023, Plaintiffs served RFP No. 25 on Amazon. RFP No. 25

 5 calls for: “All litigation holds, preservation notices, or similar documents sent by Amazon in

 6 connection with the June 17, 2019 preservation letters, August 5, 2019 Voluntary Access Letter,

 7 February 20, 2020 Civil Investigative Demand, and/or September 26, 2023 Complaint in this

 8 matter.”

 9          6.      On November 14, 2023, Plaintiffs served RFP No. 27 on Amazon. RFP No. 27

10 calls for: “All documents relating to instructions or advice given to employees about the use of

11 ephemeral messaging, including but not limited to Signal or Wickr.”

12          7.      Attached as Exhibit A is a true and correct copy of a news article by Dana

13 Mattioli, Amazon’s Washington Strategy Wins Few New Friends in the Biden Era, WALL ST. J.

14 (Mar. 10, 2022), https://www.wsj.com/articles/amazon-washington-biden-carney-antitrust-

15 11646763777, downloaded on April 23, 2024.

16          8.      Attached as Exhibit B is a true and correct copy of a document sent by Kosta

17 Stojilkovic, counsel for Amazon, to Emily K. Bolles, counsel for the FTC, dated July 6, 2023.

18          9.      Attached as Exhibit C is a true and correct copy of a letter from Thomas O.

19 Barnett, counsel for Amazon, to David Schwartz, counsel for the FTC, dated March 22, 2022.

20 Plaintiffs have redacted certain portions of Exhibit C that are not cited in Plaintiffs’ Motion to

21 Compel at Amazon’s request, pursuant to LCR 5(g)(1).

22          10.     Attached as Exhibit D is a true and correct copy of a letter from Beth Wilkinson,

23 counsel for Amazon, to David Schwartz, counsel for the FTC, dated August 31, 2022.

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 1          11.     Attached as Exhibit E is a true and correct copy of a document produced by

 2 Amazon with the Bates number Amazon-FTC-CID_08914012-13, which has been marked as

 3 PX2071.

 4          12.     Attached as Exhibit F is a true and correct copy of an excerpt from the transcript

 5 of the October 20, 2022 Investigational Hearing of Jeffrey P. Bezos conducted during Plaintiffs’

 6 pre-Complaint investigation.

 7          13.     Attached as Exhibit G is a true and correct copy of an excerpt from the transcript

 8 of the September 27, 2022 Investigational Hearing of Jeff Blackburn conducted during Plaintiffs’

 9 pre-Complaint investigation. Plaintiffs have redacted certain portions of Exhibit G that are not

10 cited in Plaintiffs’ Motion to Compel at Amazon’s request, pursuant to LCR 5(g)(1).

11          14.     Attached as Exhibit H is a true and correct copy of two documents produced by

12 Amazon with the Bates numbers AMZN-RTL-FTC-00019920 and AMZN-RTL-FTC-00019921.

13 The metadata produced by Amazon identifies Peter Krawiec as the custodian for both

14 documents. The images appearing on page 9 of Plaintiffs’ Motion to Compel are taken from

15 Exhibit H. Plaintiffs have redacted certain portions of Exhibit H that are not cited in Plaintiffs’

16 Motion to Compel at Amazon’s request, pursuant to LCR 5(g)(1).

17          15.     Attached as Exhibit I is a true and correct copy of a document produced by

18 Amazon with the Bates number AMZN-RTL-FTC-00019848. Plaintiffs have redacted certain

19 portions of Exhibit I that are not cited in Plaintiffs’ Motion to Compel at Amazon’s request,

20 pursuant to LCR 5(g)(1).

21          16.     Attached as Exhibit J is a true and correct copy of a document produced by

22 Amazon with the Bates number AMZN-RTL-FTC-00019849.

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 1          17.     Attached as Exhibit K is a true and correct copy of a letter from Stephen Antonio,

 2 counsel for the FTC, to Andrew Devore, counsel for Amazon, dated June 17, 2019, which has

 3 been marked as PX2079.

 4          18.     Attached as Exhibit L is a true and correct copy of a letter from Thomas O.

 5 Barnett, counsel for Amazon, to David Schwartz, counsel for the FTC, dated May 20, 2022.

 6 Plaintiffs have redacted certain portions of Exhibit L that are not cited in Plaintiffs’ Motion to

 7 Compel at Amazon’s request, pursuant to LCR 5(g)(1).

 8          19.     Attached as Exhibit M is a true and correct copy of an Amazon privilege log

 9 dated August 31, 2022, which has been marked as PX1703.

10          20.     Attached as Exhibit N is a true and correct copy of a document produced (in

11 redacted form) by Amazon in connection with the October 7, 2022 Investigational Hearing of

12 Amazon’s corporate representative conducted during Plaintiffs’ pre-Complaint investigation,

13 which has been marked as PX1826. The redactions in this document were made by Amazon.

14          21.     Attached as Exhibit O is a true and correct copy of an excerpt from the transcript

15 of the October 7, 2022 Investigational Hearing of Amazon’s corporate representative conducted

16 during Plaintiffs’ pre-Complaint investigation. Plaintiffs have redacted certain portions of

17 Exhibit O that are not cited in Plaintiffs’ Motion to Compel at Amazon’s request, pursuant to

18 LCR 5(g)(1).

19          22.     Attached as Exhibit P is a true and correct copy of a document produced (in

20 redacted form) by Amazon in connection with the October 7, 2022 Investigational Hearing of

21 Amazon’s corporate representative conducted during Plaintiffs’ pre-Complaint investigation,

22 which has been marked as PX1828. The redactions in this document were made by Amazon.

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 1          23.     Attached as Exhibit Q is a true and correct copy of a letter from Constance T.

 2 Forkner, counsel for Amazon, to Emily K. Bolles, counsel for the FTC, dated April 19, 2024.

 3 Plaintiffs have redacted certain portions of Exhibit Q that are not cited in Plaintiffs’ Motion to

 4 Compel at Amazon’s request, pursuant to LCR 5(g)(1).

 5          24.     Attached as Exhibit R is a true and correct copy of a letter from Constance T.

 6 Forkner, counsel for Amazon, to Emily K. Bolles, counsel for the FTC, dated April 5, 2024.

 7 Plaintiffs have redacted certain portions of Exhibit R that are not cited in Plaintiffs’ Motion to

 8 Compel at Amazon’s request, pursuant to LCR 5(g)(1).

 9          25.     Attached as Exhibit S is a true and correct copy of an excerpt from an Amazon

10 privilege log dated March 25, 2021.

11          I declare under penalty of perjury that the foregoing is true and correct.

12

13          Executed on April 25, 2024, in Washington, DC.

14                                                            s/ Emily K. Bolles
                                                              Emily K. Bolles
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